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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                   Alexandria Division
  UNITED STATES, et al.,                       )
                                               )
                        Plaintiffs,            )
         v.                                    )       No. 1:23-cv-00108-LMB-JFA
                                               )
  GOOGLE LLC,                                  )
                                               )
                        Defendant.             )



                 PLAINTIFFS’ MOTION FOR LEAVE TO FILE UNDER SEAL

         Pursuant to Local Civil Rule 5(C) and the Protective Order (ECF No. 98), Plaintiffs,

  through their undersigned counsel, hereby respectfully move this Court to seal certain portions of

  Plaintiffs’ Memorandum of Law in Support of Plaintiffs’ Motion to Exclude Opinions of

  Defendant Google LLC’s Expert Itamar Simonson and Related Expert Opinions of Dr. Mark

  Israel as well as certain exhibits attached to the same motion. The redacted portions contain

  material that Google has designated as confidential. Consistent with the local rule and this

  Court’s Electronic Case Filing Policies and Procedures, undersigned counsel have filed the

  materials at issue using the sealed filing event on CM/ECF and hereby certify that they will serve

  a copy on opposing counsel and deliver a copy to this Court in a separate container labeled

  “UNDER SEAL.” The grounds for this motion are contained in the memorandum of law

  concurrently filed in support of this motion. A proposed order is attached for the Court’s

  convenience.
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  Dated: April 26, 2024

  Respectfully submitted,

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